Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 1 of 12 PageID 770




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION
CARLO LLORCA, an individual,

                          Plaintiff,
                                                        Case No. 2:15-cv-00017-JES-CM
v.

KEVIN RAMBOSK, as the duly elected
Sheriff of Collier County, Florida,

                          Defendant.

                                  JOINT PRETRIAL STATEMENT

           COME NOW CARLO LLORCA (“Llorca” or “Plaintiff”) and KEVIN RAMBOSK, as

the duly elected Sheriff of Collier County, Florida (the “Sheriff’s Office” or “Defendant”), by

and through their respective undersigned counsel and pursuant to Section III (A) of this Court’s

Case Management and Scheduling Order (D.E. 32)(“CMSO”) and Local Rule 3.06(c), Local

Rules for the Middle District of Florida, hereby file their Joint Pretrial Statement in this

litigation, with referenced exhibits.

1.         Basis of Federal Jurisdiction

           Federal jurisdiction arises under 28 U.S.C. §§1331, 1367, 2201 and 2202.

2.         Concise Statement of the Nature of the Action 1

           Llorca asserts that he was not fully or properly paid for all hours worked as a Road Patrol

Deputy for the Sheriff’s Office. He seeks a recovery of the additional hours of alleged working

time under the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201 et seq.




1
  While Llorca filed an Amended Complaint alleging retaliation in violation of the FLSA, Llorca
does not contest dismissal of that claim and has not opposed the same in response to the Sheriff’s
Office’s Motion for Summary Judgment.
387096_1
Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 2 of 12 PageID 771




(“FLSA”) and under Art. X, Sect. 24 of the Florida Constitution (via the Florida Minimum Wage

Act, Sections 448.109-448.110, Florida Statutes (“FMWA”)).

3.         Brief, General Statement of Each Party’s Case

           a. Plaintiff’s Statement of the Case

     Llorca began his employment with the Defendant on January 3, 1995 and was employed as a

road patrol deputy. His rate of pay was $36.26 per hour but the Defendant failed to pay Mr.

Llorca all overtime and minimum wages due to him.

     At all relevant times, Mr. Llorca was governed by the Defendant’s Policy and Procedure

manual, which provides that any time worked by a Deputy Sheriff in excess of 86 hours per 14-

day work period will be compensated as overtime at one and one-half times his or her regular

pay. At all relevant times, the Defendant required Mr. Llorca to do the following without

compensation:

           •   Donning, doffing, dressing-up and dressing-down of specialized protective
               equipment, gear and outfitting that is integral and indispensable to the work
               and principal activities of a Deputy (30 minutes per shift);

           •   Road patrol duties on all shifts to be immediately responsible for the
               enforcement of all traffic violations from the moment the Deputy gets in
               his/her marked vehicle (180 minutes per shift), and;

           •   Completing, participating in and performing pre-shift and post-shift activities
               on and off the premises of the Collier County Sheriff's Office that were
               required as part of, integral and indispensable to the work and principal
               activities of a Deputy (15 minutes per shift).

     The Defendant's practice of requiring or permitting its road patrol deputies to work off-the-

clock is in violation of the FLSA because such employees perform work for the benefit of the

Defendant for which the employees are not compensated. The duties above are all integral and

indispensable part of Mr. Llorca’s duties and were required by the Defendant for the Defendant’s

benefit. Moreover, due to amount of the time taken, this time can hardly be described as de

minimis. To the extent that such work is performed during a work week in which the affected


387096_1                                           2
Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 3 of 12 PageID 772




employees have, or would have, worked in excess of eighty-six (86) hours per 14-day period,

such practice further violates the overtime pay provisions of the FLSA by virtue of the

Defendant's failure to pay compensation at a rate of one and one-half (1 and 1/2) times the

employees' regular hourly wage rate.

           Article X, Sect. 24(c) of the Florida Constitution mandates that “Employers shall pay

Employees Wages no less than the Minimum Wage for all hours worked in Florida.” (emphasis

added). While the Defendant protests otherwise, the employment contract between the Defendant

and Mr. Llorca was to pay Llorca on an hourly basis; the Defendant’s requirement that Mr.

Llorca work other hours for $0.00 represents the Defendant’s failure to pay any compensation

for Mr. Llorca’s overtime hours, a payment of $0.00 for those hours. The contract measuring rod

analysis is proper as the “averaging” theory is but a judicial fiction grounded in dicta from a

plainly distinguishable case from 1960. “Averaging” is inconsistent with the FLSA and the

Florida Constitution. If an employer agrees to pay an employee at a set hourly rate and does so, it

does not logically follow that when the same employer fails to pay the employee for some hours

worked that the employer actually benefits from such failure by virtue of “averaging.” Allowing

such to hold would be to permit the reduction of the hourly rate agreed upon by the parties nunc

pro tunc and without the employee’s consent. As discussed above, this would be a perverse

result. If an employee has been paid $0.00 for an hour of work, the employee ought to be

compensated by at least the prevailing minimum wage for that hour, as guaranteed by the Florida

Constitution, which, like the FLSA, makes no mention whatsoever of averaging.

           b. Defendant’s Statement of the Case

           With respect to his unpaid wage claims, the Sheriff’s Office submits that Llorca was

properly paid for all compensable hours worked, consistent with the time cards that he was

responsible for accurately completing and submitting to his sergeant for approval each work

387096_1                                          3
Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 4 of 12 PageID 773




period. As his time cards reflect, he was paid overtime when he worked in excess of 86 hours in

his 14-day work period, as is required by the Sheriff’s Office’s policies and applicable federal

law.

           Llorca’s asserted claims for violation of the Florida Minimum Wage Act ignore the fact

that he was paid an average hourly rate well in excess of the statutory state minimum wage rate

for all hours worked in the relevant work periods preceding the filing of his initial Complaint.

The Florida Minimum Wage Act claims properly are analyzed consistent with the methodology

of determining whether an employer has met its obligations to pay the federal minimum wage

rate for all hours worked during a work period, by dividing wages paid by the number of hours

worked to determine the “regular rate” – which is an average hourly rate for the work period.

Llorca’s assertion that he is entitled to the hourly minimum wage rate for off duty hours he

claims to have worked, regardless of his compensation for the work period, invites the Court to

interpret the Florida Minimum Wage Act in a manner that has been explicitly rejected by

numerous courts (see., e.g., Roop v. Wrecker & Storage of Brevard, Inc., 2013 WL 5929023 at *

4 (M.D. Fla. 2013); see also Crossley v. Armstrong Homes, Inc., 2015 WL 2238347 at *6 (M.D.

Fla. 2015)).

4.         List of all Exhibits and Rule 5.04 Substitute Exhibits to be Offered at Trial

           a.     Plaintiff

                  See Exhibit A.

           b.     Defendant

                  See Exhibit B.

5.         List of All Witnesses Who May be Called at Trial

           a.     Plaintiff

                  See Exhibit C.

387096_1                                          4
Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 5 of 12 PageID 774




           b.      Defendant

                   See Exhibit D.

6.         List of All Expert Witnesses

           None.

7.         Statement of the Elements of Plaintiff’s Claim for Money Damages and Amount
           Sought

           The FLSA requires employers to pay covered employees at an overtime rate if they work

more than 40 hours in a workweek. 29 U.S.C. § 207(a)(1). If an employee has worked overtime

without pay, she may bring a private FLSA action for damages. See 29 U.S.C. § 216(b). An

unpaid-overtime claim has two elements: (1) an employee worked unpaid overtime, and (2) the

employer knew or should have known of the overtime work. Allen v. Bd. of Pub. Educ. for Bibb

Cnty., 495 F.3d 1306, 1314-15 (11th Cir. 2007). Although a FLSA plaintiff bears the burden of

proving that he or she worked overtime without compensation, "[t]he remedial nature of this

statute and the great public policy which it embodies ... militate against making that burden an

impossible hurdle for the employee." Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687,

66 S.Ct. 1187, 90 L.Ed. 1515 (1946). It is the employer's duty to keep records of the employee's

wages, hours, and other conditions and practices of employment. Id. The employer is in a

superior position to know and produce the most probative facts concerning the nature and

amount of work performed and "[e]mployees seldom keep such records themselves." Id.

           Thus, in situations where the employer's records cannot be trusted and the employee

lacks documentation, the Supreme Court held "that an employee has carried out his burden if he

proves that he has in fact performed work for which he was improperly compensated and if he

produces sufficient evidence to show the amount and extent of that work as a matter of just and

reasonable inference." Id. The burden then becomes the employer's, and it must bring forth either


387096_1                                         5
Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 6 of 12 PageID 775




evidence of the precise amount of work performed or evidence to negate the reasonableness of

the inference to be drawn from the employee's evidence. Id. at 687-88, 66 S.Ct. 1187. "If the

employer fails to produce such evidence, the court may then award damages to the employee,

even though the result be only approximate." Id. at 688, 66 S.Ct. 1187.

      The claim of the Plaintiff is for the relief specified below through trial:

Overtime

Donning and Doffing:             30 minutes/shift
Drive time to and from work:     3.0 hours/shift
Off-shift activities:            15 minutes/shift
Total:                           3.75 hours/shift

3.75 hours per shift x 7 shifts (1 pay period) = 26.25 hours
26.25 hours per pay period x 26 pay periods = 682.50 hours/year

682.50 hours x 3 years = 2,047.50 hours of uncompensated overtime wages.

$36.26/hour (Regular Rate) x 1.5 = $54.39/hour

$54.39/hr. x 2,047.50 hours of uncompensated overtime = $111,363.53

$111,363.55 uncompensated overtime x 2 (liquidated) = $222,727.06

8.         List of Depositions to be Offered in Evidence at Trial

           a.     Carlo Llorca (testimony regarding FLSA retaliation claim to be redacted)

9.         Statement of Facts Admitted and Requiring No Proof

           a.     Carlo Llorca was employed by the Sheriff’s Office as a Road Patrol Deputy from
                  January, 1995 to January 21, 2015.

           b.     During the period of his employment with the Sheriff’s Office, Llorca lived in
                  Naples, Florida.

           c.     For more than the five-year period preceding the filing of his Complaint, Llorca
                  was employed as a Road Patrol Deputy for the Immokalee Patrol District of the
                  Sheriff’s Office.

           d.     Carlo Llorca filed his original lawsuit against the Sheriff’s Office on January 14,
                  2015.


387096_1                                            6
Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 7 of 12 PageID 776




           e.   The Operations Manual contains numerous directives to agency personnel, and
                agency personnel are required to have knowledge of all applicable directives,
                policies, procedures, rules and regulations as contained in the Operations Manual.
                The Operations Manual is periodically updated, and Llorca had access to the
                Operations Manual, including its Preface and Introduction, while he was
                employed as a certified law enforcement officer for the Collier County Sheriff’s
                Office.

           f.   While employed as a Deputy Sheriff, Llorca was scheduled to generally work a
                schedule of 86 hours each 14-day work period. While his work schedule varied
                for operational and other personal reasons, Llorca’s typical work period schedule
                was to work seven (7) Road Patrol shifts each work period, with each shift
                scheduled normally to last 12.17 hours.

           g.   Llorca received an hourly wage for his work as a Deputy Sheriff.

           h.   Under the Operations Manual, “overtime” is defined as hours worked by
                nonexempt personnel in excess of the hours normally required in the work period.

           i.   For the three year period preceding the filing of his original Complaint in this
                litigation, Llorca reported through his time cards and was paid for a total of
                484.87 hours of overtime.

           j.   While employed as a Deputy Sheriff, Llorca was required to report his hours by
                making entries to the Sheriff’s Office in-car computer system, and sending a
                digital report of his hours worked to his supervisor for approval. Although this
                reporting of work hours is done electronically on a computerized system, Deputy
                Sheriffs and the Operations Manual refer to such hours reports as “time cards.”

           k.   The procedure for Deputy Sheriffs to follow in order to enter in work hours into
                the computer system is set forth in computer-generated instructions available to
                all Sheriff Deputies. The Time Entry procedures request that Deputy Sheriffs
                enter their starting and stopping times each work shift, using military time.
                Before submitting the reports of his work hours to his supervisor for approval
                each work period, Llorca clicked on the “sign off” button, which appears
                immediately below the following statement on his computer screen:

                       I have reviewed my time for this pay period and certify that it is a
                       true and correct record of my working time. Once I have signed
                       off I can no longer make corrections and my time is ready for
                       supervisor approval.

           l.   The Operations Manual contains a section dedicated to the Sheriff’s Office
                “Compliance with the Fair Labor Standards Act.” For purposes of FLSA
                compliance, the Sheriff’s Office defines “work hours” and delineates what
                activities count as “work time” and what activities do not, so that Deputy Sheriffs
                can properly complete their time cards each work period.


387096_1                                         7
Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 8 of 12 PageID 777




           m.    Carlo Llorca was assigned a marked agency vehicle to use in commuting to and
                 from his home to his work site, and he used this radio-equipped vehicle to travel
                 from his home in Naples to his work site in the Immokalee Patrol District. Per the
                 Operations Manual, Carlo Llorca was not allowed to report normal commute time
                 from his home to his worksite as “work time” on his time cards, despite the fact
                 that he had a lengthy commute from his home in Naples to the Immokalee Patrol
                 District each work shift.

           n.    Llorca was expected to have his radio turned on during his daily home-to-work
                 and work-to-home commutes, and to respond to safety emergencies that he
                 observed while commuting. The Operations Manual mandates that Llorca report
                 on his time cards if he answered a call while on his normal commute (e.g., while
                 off duty), so that in such an event, he would be properly credited for such work
                 time. 2

           o.    As a matter of budget responsibility and when operationally feasible to do so, the
                 Sheriff’s Office encourages supervisory members of the agency to reduce the
                 assigned shift schedules of Deputies in order to minimize the occurrence of
                 overtime during the 14-day work period. The Operations Manual refers to this
                 trading of potential overtime hours for an equal number of off-duty hours during
                 the same work period as “balancing hours.”

           p.    Therefore, there were work periods in which Llorca incurred off-duty calls or
                 engaged in other off-duty work time, but was allowed to reduce the length of his
                 normally scheduled shifts to balance out his work hours and minimize the
                 occurrence of overtime liability as a Road Patrol Deputy.

           q.    This balancing of hours practice took place during Llorca’s work period ending
                 April 23, 2012, where his time card reflected that after taking off-duty time to
                 have his assigned agency vehicle serviced on April 13, 2012, he subsequently was
                 authorized by his supervisor to shorten his normal 12.17 hour work shift by
                 commencing his shift later that day an hour later than normal. This balancing of
                 hours also occurred during Deputy Llorca’s work periods ending February 1,
                 2010, February 15, 2010, March 29, 2010, May 10, 2010, May 24, 2010, October
                 11, 2010, October 25, 2010, November 22, 2010, February 14, 2011, November
                 7, 2011, January 2, 2012, August 12, 2013 and September 9, 2013.

           r.    Deputy Llorca’s scheduled shift work ended on September 25, 2014.

10.        Statement of Applicable Principles of Law on Which There is Agreement

           a.    Carlo Llorca was an “employee” as that term is defined under the FLSA for the
                 three-year period preceding his termination from employment with the Sheriff’s
                 Office.

2
  Llorca asserts that he was required to do more, such as being in his protective gear and
engaging in traffic enforcement during his off duty commutes.
387096_1                                         8
Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 9 of 12 PageID 778




           b.    The Sheriff’s Office was an “employer” as that term is defined under the FLSA
                 for the three-year period preceding Lorca’s termination from employment with
                 the Sheriff’s Office.

           c.    Carlo Llorca was an “employee” as that term is defined under the FMWA for the
                 five-year period preceding his termination from employment with the Sheriff’s
                 Office.

           d.    The Sheriff’s Office was an “employer” as that term is defined under the FMWA
                 for the five-year period preceding Lorca’s termination from employment with the
                 Sheriff’s Office.

           e.    Venue is proper in the U.S. District Court, Middle District of Florida, Fort Myers
                 Division.

           f.    The Sheriff’s Office employed Carlo Llorca on a 14-day work period, consistent
                 with the provisions of 29 U.S.C. § 207(k). Accordingly, Llorca was entitled to be
                 paid overtime compensation under the Fair Labor Standards Act for any actual
                 hours worked in excess of 86 hours in his 14-day work periods.

           g.    In the absence of a determined willful violation, the relevant time period
                 regarding Carlo Llorca’s asserted federal claims for unpaid overtime
                 compensation is January 14, 2013 to September 25, 2014.

           h.    Should the evidence presented establish a willful violation of the FLSA, the
                 relevant time period regarding Carlo Llorca’s asserted federal claims for unpaid
                 overtime compensation is January 14, 2012 to September 25, 2014.

           i.    In the absence of a determined willful violation, the relevant time period of
                 Llorca’s asserted claim under the Florida Minimum Wage Act would be January
                 14, 2011 to September 25, 2014.

           j.    Should the evidence presented establish a willful violation of the Florida
                 Minimum Wage Act, the relevant time period of Llorca’s asserted claim under the
                 Florida Minimum Wage Act would be January 14, 2010 to September 25, 2014.

11.        Statement of Issues of Fact Which Remain to be Litigated

           a.    Whether Carlo Llorca was paid for all hours worked as required by the FLSA, for
                 the three-year period preceding Lorca’s termination from employment with the
                 Sheriff’s Office.

           b.    Whether Carlo Llorca was paid for all hours worked as required by the FMWA,
                 for the five-year period preceding Lorca’s termination from employment with the
                 Sheriff’s Office.

           c.    Whether Carlo Llorca provided the Sheriff’s Office with pre-suit notice of his
                 FMWA claim.

387096_1                                         9
Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 10 of 12 PageID 779




           d.    If the answer to Paragraph 11(a) and/or 11(b) is “No,” whether Llorca can
                 establish any recoverable damages.

           e.    Whether Carlo Llorca was required by the Sheriff’s Office to don his protective
                 gear before commuting to and from his assigned Road Patrol shift schedules in his
                 agency vehicle.

12.        Statement of Issues of Law Which Remain to be Litigated

           a.    Whether, under the facts described above and the evidence at trial, Carlo Llorca’s
                 off-duty commute time from his home to assigned patrol zone is compensable
                 working time under the FLSA.

           b.    Whether, under the facts described above and the evidence at trial, Carlo Llorca’s
                 off-duty commute time from his home to assigned patrol zone is compensable
                 working time under the FMWA.

           c.    Whether, under the facts described above and the evidence at trial, Carlo Llorca’s
                 off-duty time spent donning and doffing his uniform is compensable working time
                 under the FLSA.

           d.    Whether, under the facts described above and the evidence at trial, Carlo Llorca’s
                 off-duty time spent donning and doffing his uniform is compensable working time
                 under the FMWA. 3

           e.    Whether Carlo Llorca’s asserted 15 minutes per shift engaged in off-shift
                 activities is compensable working time under the FLSA.

           f.    Whether Carlo Llorca’s asserted 15 minutes per shift engaged in off-shift
                 activities is compensable working time under the FMWA.

           g.    Whether Carlo Llorca is barred from seeking a recovery of compensable working
                 time under the FLSA for asserted off duty and off-shift activities described in
                 Paragraphs 12(a), 12(c) and 12(e) above, when he failed to report any of such
                 times as working hours on his certified time cards.

           h.    Whether Carlo Llorca is barred from seeking a recovery of compensable working
                 time under the FMWA for asserted off duty and off-shift activities described in
                 Paragraphs 12(b), 12(d) and 12(f) above, when he failed to report any of such
                 times as working hours on his certified time cards.

           i.    Whether the FMWA requires payment of the applicable Florida Minimum Wage
                 rate for each and every hour worked during Llorca’s work periods, rather than an
                 average work period wage rate that equals or exceeds the applicable Florida
                 Minimum Wage rate.


3
    Llorca also asserts that he was required to don and doff his protective gear.
387096_1                                           10
Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 11 of 12 PageID 780




           j.     If a violation of the FLSA is established, whether the established FLSA claim
                  constitutes a willful violation under 29 U.S.C. § 255(a).

           k.     If a violation of the FLSA is established, whether the Sheriff’s Office has
                  established good faith under 29 U.S.C. § 260.

           l.     If a violation of the FMWA is established, whether the established FMWA
                  violation constitutes a willful violation of the FMWA.

           m.     If a violation of the FMWA is established, whether the Sheriff’s Office has
                  established good faith under Section 448.110(c)(1), Florida Statutes.

13.        Statement of any Disagreement as to the Application of the Federal Rules of
           Evidence or the Federal Rules of Civil Procedure

           The parties have no current disagreement as to the application of the Federal Rules of

Evidence or the Federal Rules of Civil Procedure. However, the parties have agreed that the fact

that Carlo Llorca was involuntarily terminated from his employment as a Deputy Sheriff on

January 21, 2015 need not come into evidence at trial, in light of Llorca’s concession as to the

merits of the Sheriff’s Office’s defenses to his asserted FLSA retaliation claim. This stipulation

does not limit the parties’ introduction of evidence at trial, should a trial prove necessary,

regarding the sustained policy violations found by the Professional Responsibility Bureau

Investigations which are relevant to Llorca’s overtime and/or minimum wage claim(s) and which

were conducted following citizen complaints against Llorca from 2007 through 2014.

14.        List of all Motions or Other Matters Which Require Court Action

           a.     Defendant’s Case Dispositive Motion for Summary Judgment (D.E. 37).

           b.     Plaintiff’s Motion to Strike Affidavit (D.E. 45).

15.        Additional Attachments

           Pursuant to the Court’s CMSO:

           a.     the parties’ Proposed Jury Instructions and Verdict Form are attached as

composite Exhibit E; and

           b.     Plaintiff’s Proposed Voir Dire Questions are attached as Exhibit F; and
387096_1                                           11
Case 2:15-cv-00017-PAM-CM Document 51 Filed 07/22/16 Page 12 of 12 PageID 781




           c.    Defendant’s Proposed Voir Dire Questions are attached as Exhibit G.

Dated this 22nd day of July, 2016.                   Respectfully submitted,

s/ Benjamin H. Yormak                                s/ David J. Stefany
BENJAMIN H. YORMAK                                   DAVID J. STEFANY
Florida Bar Number 71272                             Florida Bar No. 438995
Counsel for Plaintiff                                NICOLETTE L. BIDARIAN
                                                     Florida Bar No. 83795
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                                                     nbidarian@anblaw.com

                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 22nd day of July, 2016, I electronically filed the

foregoing along with its referenced exhibits with the Clerk of the Court by using the CM/ECF

system, which will send a notice of electronic filing to Benjamin H. Yormak, Esquire, Yormak

Employment & Disability Law, 9990 Coconut Road, Bonita Springs, Florida 34135

(byormak@yormaklaw.com).


                                                     /s/ David J. Stefany
                                                     ATTORNEY




387096_1                                        12
